872 F.2d 412
    Henry (James, Gwendolyn), Pinney (James, Melvina), Henry(Ephraim, Ann), Caines (Jane), Henry (Gertrude),Penney (Willis), Rogers (William,Margaret), Connonier (John, Selina)v.Weston (John I, Jr.), Todman (Doris Weston}), Smith(Marjorie Weston}), Joseph (Gloria Weston}),Estate of Weston (Terencia D.)
    NO. 88-3284
    United States Court of Appeals,Third Circuit.
    MAR 06, 1989
    
      1
      Appeal From:  D.V.I.
    
    
      2
      VACATED AND REMANDED.
    
    